Case 2:21-bk-16674-ER   Doc 418 Filed 10/24/22 Entered 10/24/22 14:34:02                Desc
                          Main Document Page 1 of 2



 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
   akebeh@DanningGill.com                                   FILED & ENTERED
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006                              OCT 24 2022
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735                                  CLERK U.S. BANKRUPTCY COURT
                                                              Central District of California
                                                              BY gonzalez DEPUTY CLERK
 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7
                          UNITED STATES BANKRUPTCY      CHANGES
                                                              COURTMADE BY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                    LOS ANGELES DIVISION
10
   In re                                         Case No. 2:21-bk-16674-ER
11
   JINZHENG GROUP (USA) LLC,                     Chapter 11
12
                Debtor and Debtor in             ORDER APPROVING STIPULATION TO
13              Possession.                      CONTINUE HEARING ON
                                                 PROFESSIONAL FEE APPLICATIONS
14
                                                 Old Date
15                                               Date:    November 9, 2022
                                                 Time:    10:00 a.m.
16                                               Crtrm.: 1568
                                                          255 East Temple Street
17                                                        Los Angeles, California 90012

18                                              New Date
                                                Date:   December 7, 2022
19                                              Time:   10:00 a.m.
                                                Crtrm.: 1568
20                                                      255 East Temple Street
                                                        Los Angeles, California 90012
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                                  Main Document Page 2 of 2



 1            The chapter 11 Debtor in Possession Jinzheng Group (USA) LLC, the Official Committee

 2 of Unsecured Creditors, and Shioda Langley & Chang LLP having filed on or about October 21,

 3 2022, their Stipulation to Continue Hearing on Professional Fee Applications [Doc. No. 416] (the

 4 “Stipulation”); good cause appearing therefor; it is hereby

 5            ORDERED THAT:

 6            1.       The Sstipulation is approved.

 7            2.       The hearing on professional fee applications is continued from November 9, 2022,

 8 at 10:00 a.m., to December 7, 2022, at 10:00 a.m.

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      Date: October 24, 2022
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